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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Plumbers Pension Fund, Local 130 U.A., et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:19−cv−06670
                                                              Honorable Martha M. Pacold
Starr Plumbing, Inc.
                                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 16, 2020:


       MINUTE entry before the Honorable Martha M. Pacold:Plaintiffs shall serve
defendants with this notice. Any objection to plaintiffs' motion for default judgment [20]
must be filed by 7/24/2020.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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